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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )                 4:08CR3148
                                    )
          v.                        )
                                    )
JEFF L. MOATS,                      )                    ORDER
                                    )
                 Defendant.         )
                                    )


     IT IS ORDERED:

     Defendant Moats’ motion to extend deadline, filing no. 66,
is granted and the deadline for defendant Moats to file pretrial
motions is extended to January 5, 2009.

     DATED this 3rd day of December, 2008.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
